                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


STATE OF ALASKA,

                      Plaintiff,

             v.

UNITED STATES DEPARTMENT                Case No. 3:22-cv-00078-SLG
OF THE INTERIOR, et al.,

                      Defendants.


       ORDER RE JOINT MOTION TO AMEND SCHEDULING ORDER

      Before the Court at Docket 17 is the parties’ Joint Motion to Amend

Scheduling Order. Upon consideration of the motion, IT IS ORDERED that the

motion is GRANTED. Existing deadlines are hereby VACATED. This matter shall

proceed as follows:

      1.    The parties shall meet and confer regarding the completeness and

adequacy of the agency record no later than September 22, 2022.

      2.    The parties shall file a proposed briefing schedule no later than

October 6, 2022.

      DATED this 31st day of August, 2022, at Anchorage, Alaska.

                                         /s/ Sharon L. Gleason
                                         UNITED STATES DISTRICT JUDGE




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